Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 1 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 2 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 3 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 4 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 5 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 6 of 7
Case 5:07-cr-00017-DCB-FKB   Document 152   Filed 12/26/07   Page 7 of 7
